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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 GIDEON RAPAPORT,                                                    Case No.: 1:23-cv-06709 (JGLC)

                           Plaintiff,                                AFFIDAVIT OF
                                                                     BRIAN J. FIELD IN
         -against-                                                   SUPPORT OF MOTION FOR
                                                                     ADMISSION PRO HAC VICE
 AJAY SRINIVASAN IYER,
 ZACHARY GEORGE GARRETT, and
 RICHARD ALLEN EPSTEIN,

                            Defendants.
 ----------------------------------------------------------------X

        I, Brian J. Field, declare:

        1.       I am a partner of the law firm of Schaerr | Jaffe LLP, located at 1717 K

Street NW, Suite 900, Washington, DC 20006.

        2.       This Affidavit is submitted in support of my motion for admission to

practice pro hac vice for the purposes of appearing and participating in this case as counsel

for Defendants Ajay Srinivasan Iyer and Zachary George Garrett.

        3.       As shown in the Certificate of Good Standing annexed hereto, I am a

member in good standing of the Bar of the District of Columbia (Bar No. 985577).

        4.       There are no pending disciplinary proceedings against me in any state or

federal court, I have never been convicted of a felony, nor have I ever been censured,

suspended, disbarred or denied admission or readmission by any court.

        5.       I am aware that I am subject to the local rules of this Court, including the

Rules governing discipline of attorneys.

        WHEREFORE, for the foregoing reasons, Brian J. Field respectfully submits that

this Court grant entry of an Order of Admission Pro Hac Vice to participate in the above-
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 captioned action as counsel for Defendants Ajay Sriniv
                                                                               asan Iyer and Zachary George
 Garrett. I declare under penalty of perjury that the foreg
                                                            oing is                  true and correct.
         Executed on July /               f , 2024 in Alexandria, Virginia.




                                            ACKNOWLEDGMENT
~trfMealfff'Bf>Vf11tirna              L    State of Florida
City of~te'Satrfdi'm         Miam i Dade

The foregoing instrument was acknowledged before me
                                                          this 17th day of July, 2024, by Brian
J. Field , Counsel for Defendants Ajay Srinivasan Iyer and
                                                            Zachary George Garrett.
               Produ ced Driver 's Licens e

[SEAL]                                                                                 Edgar d Eliacin

              1\1\11111//1
                                          EDGARD ELIACIN
                                 Notary Public - State of Florida

                             I     Commis sion # HH 152351
                                    Expires on July 12, 2025

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 Notar ized remot ely online using comm unica tion
                                                                    techn ology via Proof .




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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                                  Brian J Field
     was duly qualified and admitted on January 9, 2009 as an attorney and counselor entitled to
      practice before this Court; and is, on the date indicated below, an Active member in good
                                          standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                      name and affixed the seal of this
                                                                             Court at the City of
                                                                     Washington, D.C., on July 16, 2024.




                                                                           JULIO A. CASTILLO
                                                                            Clerk of the Court




                                                        Issued By:


                                                                        David Chu - Director, Membership
                                                                       District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
